Case:17-11810-MER Doc#:65 Filed:12/12/18 Entered:12/12/18 14:25:15 Page1 of 1
  UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF COLORADO


     IN RE:                                             CHAPTER 13
     JUDITH JEAN SCHNEIDER                              CASE: 17-11810 MER



                                   DEBTOR


                              CERTIFICATE OF SERVICE


       The undersigned certifies that on December 12, 2018, I served by prepaid first class
   mail a copy of the Chapter 13 Trustee’s Motion to Determine Treatment of Claim #7
   filed by ADAMS COUNTY TREASURER, and 9013 Notice on all parties against whom
   relief is sought and those otherwise entitled to service at the following addresses:


   ADAMS COUNTY                  JUDITH JEAN                   WATTON LAW GROUP
   TREASURER                     SCHNEIDER                     301 W WISCONSIN AVE
   P O BOX 869                   4316 EAST 113TH PLACE         5TH FL
   BRIGHTON, CO 80601            THORNTON, CO 80233            MILWAUKEE, WI 53203




   Dated: December 12, 2018
                                                             /s/Anne
                                                              Chapter 13/Staff Member
                                                              PO Box 1169
                                                              Denver, CO 80201-1169
                                                              (303)830-1971
